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            5      Attorneys for Defendant Caliber Home Loans, Inc.
                   SALAM RAZUKI, individually and behalf of
            6      others similarly situated,
            7
            8                               UNITED STATES DISTRICT COURT
            9                             SOUTHERN DISTRICT OF CALIFORNIA
         10
         11        SALAM RAZUKI, individually and                  Case No. 3:17-cv-01718-LAB-WVG
                   behalf of others similarly situated,
         12                                                        CALIBER HOME LOANS, INC.’S
                                    Plaintiff,                     NOTICE OF MOTION AND
         13                                                        MOTION TO DISMISS
                   v.                                              PLAINTIFF’S THIRD AMENDED
         14                                                        CLASS ACTION COMPLAINT
                   CALIBER HOME LOANS, INC., a                     PURSUANT TO FED. R. CIV. P.
         15        Delaware corporation,                           12(b)(1) and 12(b)(6)
         16                         Defendant.                     Hearing Date:       August 27, 2018
                                                                   Time:               11:30 a.m.
         17                                                        Courtroom:          14A
                                                                   Judge:              Hon. Larry Alan Burns
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         21              TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
         22              PLEASE TAKE NOTICE that on August 27, 2018, at 11:30 a.m. or as soon
         23        thereafter as counsel may be heard, in Courtroom 14A of the above-entitled Court,
         24        located at 333 West Broadway, Suite 1410, San Diego, California 92101, defendant
         25        Caliber Home Loans, Inc. (“Caliber”), pursuant to Federal Rules of Civil Procedure
         26        12(b)(1) and 12(b)(6) will, and hereby does, move to dismiss the Third Amended
         27        Complaint of Plaintiff Salam Rakuzi, individually and on behalf of a class of persons
         28        he claims are similarly situated.
  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                  1.              CASE NO. 3:17-CV-01718-LAB-WVG

                             CALIBER’S NOTICE OF MOTION AND MOTION TO DISMISS PLT.’S THIRD AMENDED COMPLAINT
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            1              This motion to dismiss is based on this notice of motion and motion, the
            2      accompanying memorandum of points and authorities in support thereof, the pleadings
            3      and other records on file in this action, and such further oral or documentary argument
            4      and evidence as the Court may receive at the hearing on the motion to dismiss.
            5      Dated:      July 20, 2018                COOLEY LLP
            6
            7
                                                            By: s/ Benjamin Kleine
            8                                                  Benjamin Kleine
                                                               Attorneys for Defendant
            9                                                  Caliber Home Loans, Inc.
                                                               Email: bkleine@cooley.com
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  COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                            2.            CASE NO. 3:17-CV-01718-LAB-WVG

                      CALIBER’S NOTICE OF MOTION AND MOTION TO DISMISS PLT.’S THIRD AMENDED COMPLAINT
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